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 7

 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            Case No. 2:19-CR-00126 MCE

12                                 Plaintiff,             GOVERNMENT’S EXHIBIT LIST

13                           v.

14   JAZIZ CEA,

15                                Defendant.

16

17

18          The United States, by and through its undersigned counsel, hereby submits its list of exhibits that

19 it plans to introduce during its case-in-chief. The United States anticipates the following: it may not

20 seek introduction of each exhibit listed below at trial; additional exhibits may be identified prior to trial

21 or during trial; as a result, amendments to this list may be made as trial developments warrant such

22 amendment.

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 1
     EXHIBIT DESCRIPTION                                                           Entered   Received
 2
     1            Defendant's video recorded interview on 2/20/19
 3   1A           Transcript of defendant's interview on 2/20/19
     1B           Clipped portions of the defendant's interview
 4
     1C           Clipped portions of the defendant's interview
 5   1D           Clipped portions of the defendant's interview
     1E           Clipped portions of the defendant's interview
 6
     1F           Clipped portions of the defendant's interview
 7   1G           Clipped portions of the defendant's interview
     1H           Clipped portions of the defendant's interview
 8
     1I           Clipped portions of the defendant's interview
 9   1J           Clipped portions of the defendant's interview
     1K           Clipped portions of the defendant's interview
10   1L           Clipped portions of the defendant's interview
11   1M           Clipped portions of the defendant's interview
     1N           Clipped portions of the defendant's interview
12   1O           Clipped portions of the defendant's interview
13   1P           Clipped portions of the defendant's interview
     1Q           Clipped portions of the defendant's interview
14   1R           Clipped portions of the defendant's interview
     1S           Clipped portions of the defendant's interview
15
     1T           Clipped portions of the defendant's interview
16   1U           Clipped portions of the defendant's interview
     1V           Clipped portions of the defendant's interview
17
     1W           Clipped portions of the defendant's interview
18   2            G.C./JV1 video from defendant’s iPhone 6S
     2A           metadata from JV1 video
19   2B           G.C./JV1 video (formatted for easier viewing)
20   3            Defendant's iPhone 6S (physical exhibit)

21   3A           Cellebrite report from defendant's iPhone 6S

22   3B           Photos of iPhone taken by Agent Medlin

23   3C           Password file extracted from defendant's iPhone

     4            Acer N15Q8 ChromeBook (physical exhibit)
24
     4A           Disc of extraction of data from Chromebook
25   5            Smashed thumb drive found in defendant's residence’s trash can
     6            G.C.'s certified birth certificate
26
     7            Spy camera HD Minicam manual from defendant's bedroom
27                (physical exhibit)
     8            Spy camera (physical exhibit)
28

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 1   9            Det. Rowberry’s photos of defendant’s iPhone
     11           G.C.'s white underwear (physical exhibit)
 2
     12           G.C.'s black tank top (physical exhibit)
 3   13           G.C.'s black pants (physical exhibit)
     14           G.C.'s angel wall hanging (physical exhibit)
 4
     15           DT Brown's search warrant evidence finder's report, diagram, list
 5                of seized evidence
     16           Search Warrant photo ‐ outside of house
 6   17           Search Warrant photo ‐ living room
 7   18           Search Warrant photo ‐ entertainment system in living room
 8   19           Search Warrant photo ‐ doorway to defendant's bedroom

 9   20           Search Warrant photo ‐ photo of defendant's iPhone plugged in
                  next to mattress
10
     21           Search Warrant photo ‐ close up of defendant's iPhone plugged in
11
     22           Search Warrant photo ‐ waifa pillow on defendant's bed
12   23           Search Warrant photo ‐ Acer Chromebook computer at foot of
                  defendant's bed
13
     24           Search Warrant photo – spy camera in defendant's dresser drawer
14
     25           Search Warrant photo ‐ spy camera on kitchen counter
15
     26           Search Warrant photo ‐ bathroom, from hallway
16   27           Search Warrant photo ‐ bathroom mirror showing bathtub/shower
17   28           Search Warrant photo ‐ bathroom vanity
18   29           Search Warrant photo ‐ spy camera manual in defendant's dresser
                  drawer
19
     30           Search Warrant photo – Det. Brown going through trashcan
20
     31           Search Warrant photo ‐ Det. locating smashed thumb drive
21
     32           Search Warrant photo ‐ pieces of smashed thumb drive on car
22   33           Search Warrant photo ‐ door to G.C.'s bedroom

23   34           Search Warrant photo ‐ G.C.'s bed

     35           Search Warrant photo ‐ G.C.'s dresser
24
     36           Search Warrant photo ‐ G.C.'s dresser drawer contents
25
     37           Search Warrant photo ‐ G.C.'s desk
26
     38           Search Warrant photo ‐ G.C.'s underwear on mattress corner
27   39           Defendant's handwritten apology letter (2/20/2019)
28

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 1   40                Audio recording of Hernan Cea's conversation with defendant in
                       back of patrol car
 2
     41                Search Warrant photo ‐ mirror on back of G.C.'s bedroom door
 3   42                Search Warrant photo ‐ G.C.'s bed with angel artwork on wall
 4   43                Search Warrant photo ‐ G.C.'s open dresser drawer (underwear)
 5   44                Search Warrant photo ‐ G.C.'s white underwear

 6   45                Skype chats between defendant and Bertoldo Lugo and
                       Petersam555
 7   46                901(11) cert for Microsoft/Skype
     46                901(11) cert for Microsoft/Skype
 8
     47                Google search history for jazizcea@gmail.com between 2/1/2018
 9                     and 5/13/2018
     49                902(11) cert for google sent to Houston ICAC
10
     50                google account suspension email messages dated 5/13/18
11
     51                April 29, 2018 email message from jazizcea@gmail.com to
12                     jazizcea@gmail.com containing “[V]” child pornography video
     52                A.G.'s certified birth certificate
13
     53                still photo of A.G. taken in 2019
14   54                D.V.'s certified birth certificate
     55                National Guard/ Army documents pertaining to the defendant
15   56                902(11) certificate for Guard/Army records
16   57                video data for “[V.F.] tape 1.” Created May 13, 2018 at 12:31 PM
                       UTC
17   58                video data for 0ir0qs7jjgvekaer6tcbu. Created May 13, 2018 at
                       12:26 PM UTC
18   59                video data for vp4yf388joty8cz38eiex. Created May 13, 2018 at
                       12:28 PM UTC
19
     60                video data for “[G] get cum in mouth and pussy destroyed.”
20                     Created May 13, 2018 at 12:37 PM UTC
     61                Google's records for Cybertip
21   62                902(11) Google certification letter dated 2/28/20
22   63                NCMEC report for 5/13/18 google uploads

23   63A               NCMEC 902(11) certification letter for CyberTips & TA report

     64                video file (containing child pornography):
24
                       hk8oe8h4zq7iu3kzvcbnp.webm / lERfWSQfv2M.mp4: Youtube
25                     upload on 5/13/18: (“[G.C.] get cum in mouth and pussy
                       destroyed” “looks like my hot [], 15:37 best part”) 1
26   64A               video clip (containing child pornography) from 00:00 to 00:15, new
                       filename lERfWSQfv2M 00‐00 to 00‐15.mp4.
27
           1
28             Note: Exhibits 64 through 67 are identified as exhibits but the government should not need to play them at trial.


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 1   64B          video clip (containing child pornography)from 01:50 to 01:52, new
                  filename lERfWSQfv2M 01‐50 to 01‐52.mp4
 2

 3   64C          video clip (containing child pornography)from 15:31 to 15:41, new
                  filename lERfWSQfv2M 15‐31 to 15‐41.mp4
 4
     65           video file (containing child pornography):
 5                hy5ukx4avr7a33ymdidxj.webm / greXHVrJ1lw.mp4: Youtube
                  upload on 5/13/18 : looks like my hot []
 6   66           video file (containing child pornography):
                  0ir0qs7jjgvekaer6tcbu.webm / q0QjTN4fx2w.mp4 upload on
 7
                  5/13/18
 8   67           video file (containing child pornography):
                  vp4yf388joty8cz38eiex.webm / VtzN4s‐UVEo.mp4 upload on
 9                5/13/18
     68           Photo of defendant in room holding phone showing password
10                loliconislove12
11   69           Meme ‐‐man looking through window with telescope: “1 in 10
                  people live next to a pedophile. Not me, I live next to 3 gorgeous
12                13 year olds”
     70           Meme from Chromebook—“I need #PedosexualRights because
13
                  pedophiles are ENDANGERED just by showing their faces”
14   71           Memo from Chromebook‐‐anime drawing of young girl in green
                  hoodie next to erect male penis, with face covered in ejaculate,
15                upper left says lolicon Loli
16   72           Meme from Chromebook: picture of Pedobear trap in bedroom

17   73           Dkt. #51: factual basis of defendant's guilty plea to Count 2 of
                  original indictment
18   74           iPhone note: video file (containing child pornography)([V] series)
                  (hy5ukx4avr7a33ymdidxj.webm)
19
     75           Video of female on sofa in Cea living room in zebra print short
20                shorts
     76           Extraction metadata report for the zebra shorts video
21   77           Screenshot from defendant's iphone: google search for lollicon
                  meaning and results
22
     78           Photo of G.C. in car with seatbelt
23   78A          Photo of G.C. with wet hair
24   79           Video of G.C.: Corn on the Cob (from defendant’s google account)
     80           Video of G.C.: Eating Goldfish (from defendant’s google account)
25   81           Video of G.C.: Secret Filming Through Blinds (from defendant’s
                  google account)
26
     83           google takeout internet search history from defendant's account
27                from 7/18/2018 to 2/21/2019
     083A         Google Searches ‐ ICAC Conf and [T] Deep Web on 11/2/18
28

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 1   083B         Google Searches – [K.F.] bitcoin on 8/15/18 to 8/16/18

 2   083C         Google Searches ‐ Rohypnol zip file breaking on 8/17/18 to
                  8/18/18
 3   083D         Google Searches – [G.C.] instagram, spy camera on hook, [G.] car
                  instagram on 8/15/2018
 4
     84           Youtube search history from defendant's google takeout
 5
     084A         YouTube Searches ‐ DeepWebPedo.pdf on 1/29/18
 6
     084B         YouTube Searches ‐ Pedo on Discord.pdf on 2/12/19
 7
     084C         YouTube Searches ‐ Pedobear and recover deleted videos.pdf on
 8                8/4/18
     084D         YouTube Searches ‐ Pedophile arrested.pdf on 12/8/18
 9
     084E         YouTube Searches ‐ Siberian Mouse and Pedobox.pdf on 12/17/18
10
     084F         YouTube Searches – [V.F.].pdf on 9/21/18
11
     85           File name Screenshot 2018‐12‐11 at 9.33.41 PM (showing dark
12                web sites)
     86           File name Screenshot 2019‐01‐16 at 11.29.26 PM (showing dark
13                web sites including topic Links 2.0 and Redman17)
14   87           Discord excerpt when chatting with ThomasMarino: “to find drugs
                  for my []” . . . “[]and post it on the deep web”
15   88           Amazon records‐‐defendant's purchase of spy cameras

16   89           Amazon 902(11) message
17   90           1006 Summary chart of CP files sent from Bertoldo Lugo to
                  defendant
18   91           Information provided by Coinmama
     92           902(11) document for Coinmama
19   93           Information provided by Bitstamp
20   94           902(11) document for Bitstamp
     95           Screenshot photo of victim in YouTube upload video titled [G.C.]
21                get cum . . .
22   100          1006 Summary chart of Welcome to Video child pornography files
                  downloaded by defendant
23

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     GOVERNMENT’S EXHIBIT LIST
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 1
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 2                                              United States Attorney

 3   Dated: March 13, 2020               By: /s/ Christina McCall
                                             CHRISTINA McCALL
 4                                           ROSANNE L. RUST
                                             Assistant United States Attorney
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     GOVERNMENT’S EXHIBIT LIST
